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 1          LAW OFFICES OF
     CHRISTOPHER H. WING
 2   A PROFESSIONAL CORPORATION
          1101 E STREET
 3    SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
 4

 5   ATTORNEYS FOR:           Defendant
 6

 7                                   IN THE UNITED STATES DISTRICT COURT

 8                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA                          Cr. No. S-08-294 EJG
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11                                     Plaintiff,      STIPULATION AND ORDER
                                                       CONTINUING STATUS HEARING
12         v.                                          FROM NOVEMBER 21, 2008 AT 10:00
                                                       AM TO FEBRUARY 13, 2009 AT 10:00
13                                                     AM.
     ROBERT MARTINSON, ET. AL
14                  Defendants,
                                                       EXCLUSION OF TIME
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16
                                                    ORDER
17
            This matter having come on before me pursuant to the stipulation of the
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     parties and good cause appearing therefore;
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            IT IS ORDERED THAT:
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22
            The Hearing now set for November 21, 2008 at 10:00 a.m., is vacated and
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     the matter set for a status conference on, February 13, 2009, at 10:00 am.
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            Further, the Court finds that the defendants' need for additional time to
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     prepare exceeds the public interest in a trial within 70 days and, therefore, the
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     interests of justice warrant a further exclusion of time until the hearing on February
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               2      13, 2009. Based upon this finding and the representations of the parties, the Court
               3      excludes time from November 21, 2008, pursuant to the Speedy Trial Act, 18
               4      U.S.C. § 3161(h)(8)(B)(iv), Local Code T4 (time to allow sufficient time for
               5      counsel to prepare), until the next appearance on February 13, 2009 at 10:00 a.m.
               6      or by further order of this Court.
               7

               8

               9             Dated:   November 17, 2008
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             11
                                                            /s/ Edward J. Garcia
             12                                             SENIOR U.S. DISTRICT COURT JUDGE
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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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